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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


 GENARD DENEZ CHESTNUT,

               Plaintiff,

                                                 Case No. 3:22-cv-1349-BJD-LLL
 v.

 ROBERT ATTEBERY, et al.,

               Defendants.


        JOINT MOTION FOR CONFIDENTIALITY ORDER AND
               INCORPORATED PROPOSED ORDER

       Plaintiff, GENARD DENEZ CHESTNUT, and non-party, FLORIDA

DEPARTMENT OF CORRECTIONS ("FDC") by and through undersigned counsel

and pursuant to Fed.R.Civ.P. 45(d)(1) hereby move this Honorable Court to issue a

confidentiality order regarding certain documents to be produced. In furtherance

thereof, the parties state:

       On December 11, 2023, the Plaintiff served FDC with a Subpoena to Produce

Documents, Information, or Objects or To Permit Inspect of Premises in a Civil

Action. Plaintiff’s subpoena includes requests for records FDC regards as

confidential due to security concerns. As such, the parties have agreed that the entry

of a confidentiality order is appropriate.


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       The parties anticipate that exchanged discovery requests may seek

 protected confidential and restricted information of the FDC. sensitive materials

 that may involve operations that affect public safety, the safety of FDC personnel,

 and inmates. In anticipation of those discovery requests, and in order to address

 the concerns of the Plaintiff and Non-Party, Florida Department of Corrections,

 Plaintiff and FDC jointly move the Court for a confidentiality order which

 includes, in substance, the following:

 1.   This Order governs the handling, maintenance, storage, and use, of

      discovery materials that would be exempt from disclosure under public

      records laws, or are considered confidential by Florida statutes, including

      section 119.071, Florida Statutes, section 945.10, Florida Statutes, and

      other state laws as well as certain Florida Department of Corrections

      security procedures and rules.

 2.   FDC has security concerns in certain of its records and wishes to ensure

      that these records are not introduced into the public domain.

 3.   Plaintiff has discovery needs relating to the Plaintiff’s burden of proof of

      claims in the instant lawsuit that may include records that would be

      exempt from public disclosure under Florida public records laws.

 4.   Plaintiff maintains that federal courts are not required to and should rarely

      undertake to enforce state confidentiality laws as part of the discovery


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      process in federal civil rights litigation.

 5.   FDC wishes the Court to give weight to some Florida public records laws

      under principles of comity.

 6.   In recognition of the need for a balancing of interests, Plaintiff hereby

      agrees to treat the following kinds of discovery materials as confidential,

      subject to court review:

      a. Any video recordings taken within an FDC prison that includes security
         infrastructure and FDC staff;

      b. Photographs taken within an FDC prison that includes security
         infrastructure and FDC staff;

      c. Post Orders (i.e., job descriptions) designated by FDC as restricted;

      d. Any FDC Duty Rosters (i.e., work schedules);
      e. Control Room Logs;
      f. Housing Logs (DC6-209);

      g. Any restricted or confidential FDC Policies
      h. Any training materials concerning the use of chemical agents;

      i. Any documents or training materials concerning Use of Force Training or
         defensive tactics;
      j. Emergency Action Center Duty Officer Log;
 7.   Plaintiff may also designate records as confidential. Although the above-

      listed records are characterized as confidential under this Order, such

      designation is purely the product of the parties’ agreement does not reflect

      a judicial ruling or stipulation by any Party concerning whether such

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      records are protected by state or federal law. Plaintiff may challenge the

      protection as “confidential” of any particular record for a showing of

      “good cause” pursuant to Fed.R.Civ.P. 26 and the Department reserves the

      right to file appropriate motions to protect the confidential nature of the

      documents.

 8.   FDC, however, maintains these records are, in fact, protected by state and

      federal law.

 9.   This Order does not alter the requirements under court rules for redaction

      of information from documents filed with the court.

 10. This Order does not apply to records already in the public domain.

 11. The following definitions shall apply to this Confidentiality Order:

      a. “Parties” shall mean and refer to the Plaintiff and each
         Defendant in the above captioned case.
      b. “Qualified person(s)” shall mean and refer to:
          i. Counsel for the Parties and their employees, as well as
             contractors tasked with the reproduction of materials;

         ii. Expert witnesses and expert consultants for the Parties;
         iii. Deponents, to the extent needed in deposition, court
              reporters and persons preparing transcripts;
         iv. The Court and court personnel;

         v. Other persons only on order of the Court

 12. Confidential discovery materials as provided in this Order, if filed, shall

      be redacted or submitted to the Court with a motion to seal.
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 13. Confidential discovery materials as provided in this Order shall be

     disclosed only to Qualified Persons and used only for this litigation.

 14. Confidential discovery materials as provided in this Order may be shown

     to expert witnesses or expert consultants retained by a Party only after

     such witness or consultant has executed the Acknowledgment and

     Agreement (Exhibit A) agreeing to be subject to its terms. Counsel sharing

     the confidential materials shall maintain a log of all persons who have

     seen or been provided confidential discovery materials.

 15. Confidential discovery materials as provided in this Order, when filed

     pursuant to a sealing order or court rule authorizing the filing under seal of

     certain records without a court order, shall be submitted to the Court in

     sealed envelopes or sealed containers on which shall be written:

     a. the caption of this case;

     b. the name of the party filing the materials and an indication of

         the nature of the contents; and

     c. a statement substantially in the following

         form: [DISCLOSING PARTY’S NAME]

         CONFIDENTIAL

         This envelope (or container) is sealed pursuant to a Confidentiality Order,
         contains confidential information and is not to be opened or the contents thereof
         to be displayed or revealed except to counsel of record in these actions or by
         court order or pursuant to Order of the disclosing party in this action. The

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         subject envelope or container shall not be opened without further order of the
         Court.

 16. When confidential discovery materials as provided in this Order are

     expected to be presented in any pretrial proceeding, counsel for any Party

     who is a signatory to this Order may apply to the Court to limit persons

     permitted to be present to only Qualified persons are present during such

     presentation, quotation, or reference. The application of this paragraph is

     for the present limited to pretrial proceedings. Comparable measures may

     be requested for trial, if necessary.

 17. If any Party objects to the designation of any discovery material as

     “Confidential,” the objecting party shall so notify the producing party in

     writing. In the event that a dispute arises about the confidential nature of

     any materials or a Party’s duty to produce materials under this Order, the

     Plaintiff shall confer with the opposing party in good faith to resolve the

     dispute prior to resorting to Court action.

 18. Producing or receiving materials or otherwise complying with the terms of

     this Order shall not:

     a. Operate as an admission by any party that any particular discovery
        material contains or reflects any confidential matter; or

     b. Prejudice in any way the rights of any party to object to the production of
        documents it considers not subject to discovery for reasons other than
        privilege; or

     c. Prejudice in any way the rights of a party to seek a court determination
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         whether particular discovery material should be produced; or

     d. Prejudice in any way the rights of a party to apply to the court for a
        further protective order relating to any confidential information.

 19. Within thirty (30) days of conclusion of this litigation including appeals

     thereof, all confidential discovery materials governed by this Order that

     were supplied by the parties and all copies thereof shall be returned to the

     producing party. All confidential discovery materials governed by this

     Order which are electronically stored in any manner by Plaintiff’s counsel

     or counsel’s agent must be permanently deleted.

 20. Counsel for the Plaintiff shall not disclose the confidential materials to a

     Plaintiff who is a state prisoner, with the exception that the Plaintiff shall

     review the video relating to the incident and pictures of the Plaintiff.

 21. The obligation to maintain confidentiality pursuant to this Order shall

     continue after the conclusion of this case.

          Dated this 26th day of February 2024.

  /s/ James Slater                       /s/ Charles Thomas Martin, Jr.
  Attorney for Plaintiff                 Attorney for Department of Corrections
  James Slater                           Charles Thomas Martin Jr.
  Attorney for Plaintiff                 Assistant General Counsel
  Florida Bar No. 111779                 Florida Bar No. 118328
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  (305) 523-9023 (Telephone)             Tallahassee, FL 32399-2500
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                                         (850) 922-4355 (Facsimile)
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                                       Exhibit A

                ADDENDUM TO CONFIDENTIALITY ORDER

         The undersigned has been engaged as a consultant or expert in the above

 referenced action and hereby acknowledges that he/she has read the

 Confidentiality Order in this cause, understands the provisions of the Order, and

 agrees to comply with the order.

         The material is being disclosed pursuant and subject to the Order and

 may not be disclosed other than pursuant to its provisions.

 Date:                      , 20   .



NAME                                          SIGNATURE
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